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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

                                                     )
 UNITED STATES OF AMERICA,                           )
                                                     )
                                                     )
                        v.                           ) Case No. 1:21-cr-92
                                                     )
 COUY GRIFFIN,                                       ) District Judge Trevor N. McFadden
                                                     )
        Defendant.                                   )
                                                     )

   DEFENDANT GRIFFIN’S RESPONSE TO THE GOVERNMENT’S MOTION TO
     CONTINUE AND TO EXCLUDE TIME UNDER THE SPEEDY TRIAL ACT

       Defendant Griffin, through his counsel, files this brief response to the government’s

motion for a 60-day continuance under the Speedy Trial Act, 18 U.S.C. § 3161 et seq. (STA).

ECF No. 44. In the August 9 status conference, the Court held the motion in abeyance and tolled

time under the STA from August 9 to September 20, 2021. However, because the government’s

20-page motion was filed the morning of the status conference, the Court directed Griffin to

submit a formal response. He is grateful for the opportunity, as the government’s motion

contains information significant to this case and others.

       In the August 9 conference, Griffin did not oppose a continuance until September 20.

Although he had opposed the government’s prior STA continuance motions—e.g. ECF No. 18—

Griffin advised the Court on August 9 that he had subsequently received a plea offer that he was

considering. In that context, the ends of justice were served by giving the parties a month to

consider whether a plea agreement could be reached. However, Griffin contests certain of the

legal and factual points advanced in the government’s 20-page STA motion. If an agreement

cannot be reached, Griffin’s right to a speedy trial does not yield to the argument that, although

the government has identified some potential Brady material in Griffin’s case (which it has not

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yet produced), his Sixth Amendment and STA rights cannot be prejudiced until the government

can fairly represent that it possesses no additional Brady information at the conclusion of an

investigation it elects to protract through novel liability theories and expansive use of conspiracy

law. ECF No. 44, p. 12.

       First, the government represents that Griffin “believes he has received all of the

information he needs to proceed to a trial in this case.” ECF No. 44, p. 11. Griffin has never said

that. Instead, Griffin pointed out that the evidence that the government contends is sufficient to

prove its Section 1752 charges has already been produced. ECF No. 18, pp. 1-2. Thus, the

government’s assertion that its case-in-chief, in a federalized trespass matter, was “so unusual”

or “so complex” lacked merit. Id. at 7 (citing 18 U.S.C. § 3161(h)(7)(B)(ii)). Griffin did not

state or imply that the simplicity of the government’s theory of the case means that it has no duty

to produce material showing that his alleged entry into the Section 1752 “restricted area” was

lawfully authorized, if such material is within its possession, custody or control.

       Second, the following statement is found in the middle of the government’s STA motion:

       Although we are aware that we possess some information that the defense may view as
       supportive of arguments that law enforcement authorized defendants (including
       Defendant) to enter the restricted grounds, e.g., images of officers hugging or fist-
       bumping rioters, posing for photos with rioters, and moving bike racks, we are not in a
       position to state whether we have identified all such information. Pursuant to Brady and
       its progeny, we are required to make available the voluminous data that may contain any
       similar information for Defendant to review.

ECF No. 44, p. 12 (emphasis added).

       This statement is striking. Although the government represents that it already possesses

“some” arguably Brady material with respect to Griffin, that information has not yet been




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produced to the defense. 1 Griffin inquired about when the government intends to produce the

material already in its possession. He clarified that he is requesting rolling productions of such

potential Brady material. The government responded that it cannot provide a production date to

the defense and that it was up to the discovery team. It explained:

        [It is] difficult for us to parse out certain videos for each individual defendant and send
        them over individually for discovery purposes, so [the government] is going to be making
        these disclosures on a larger scale.

        The Court will notice that the government could simply produce to Griffin all of the

potential Brady in its possession now, but that it is electing not to do so until the discovery team

chooses to make the disclosures “on a larger scale.” That is not a decision driven by the time and

resources involved in reviewing and organizing “thousands of hours of video footage from

multiple sources . . . or referenced in multiple investigative documents describing the events of

January 6. . .” ECF No. 44, p. 5. For the government’s motion represents that it has already

identified a body of potential Brady material. Nor is its decision to presently withhold such

information a result dictated by CJA counsel’s perceived inability “to receive [the material] in a

manner that provides for searches across broad swaths of data using sophisticated software

tools.” Id. at 11. 2




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 Griffin believes this information has not been provided to the assigned prosecutor in this
matter. The prosecutor said, however, that as far as she is aware, the government does not
possess material that specifically shows Griffin in a place where barricades were being moved by
police officers.
2
  Counsel feels moderately comfortable representing to the Court that he is sophisticated enough
to use “keyword searches” and that his eyes appear capable of “object recognition,” because he
ran a couple tests using “software tools” before filing this response in Court. ECF No. 44, p. 11.
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       The Court should direct the government to produce this material now. LCrR 5.1

(following arraignment, government has obligation to make good-faith efforts to produce Brady

material “as soon as reasonably possible after its existence is known . . .”).

       The government argues that “every circuit to address the issue has concluded that, where

the government has provided discovery in a useable format, and absent bad faith such as padding

the file with extraneous materials or purposefully hiding exculpatory material within voluminous

materials, the government has satisfied its Brady obligations.” ECF No. 44, p. 6 (offering string

cite). However, the problem here is that despite stating that it has identified and possesses

potential Brady material, the government has not “provided [that] discovery in a useable format.”

And it will not provide a production date for that material, much less for Brady material that

might come to its attention in the future using certain “software tools” or through gaining access

to a protestor’s phone by allowing his flat-fee criminal defense counsel to recommend stipulating

to a 57-71 month sentencing range on “obstruction of official proceeding” instead of an 87-108

month range.

       Third, at the salient beginning and end of its motion, the government states that Griffin

says “he is suffering emotional distress from the charges.” ECF No. 44, pp. 2, 19. Griffin asks

the Court to notice how the government arrived at that statement. In his opposition to a STA

continuance motion filed nearly five months ago, Griffin stated that as a result of his charges, “a

cloud has been placed over his reputation as a public servant.” ECF No. 18, p. 8. He added that

he “has received death threats since, and because of, the charges against him.” Id. So where did

the “Griffin says he is suffering from emotional distress” come from? The Court will notice that

Griffin cited the Supreme Court’s decision in Strunk v. United States, 412 U.S. 434 (1973), ECF

No. 18, p. 9, and that one line from that decision states, “The speedy trial guarantee recognizes



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that a prolonged delay may subject the accused to an emotional stress that can be presumed to

result in the ordinary person from uncertainties in the prospect of facing public trial . . .” 412

U.S. at 439. So now Griffin says he is “suffering from emotional distress.”

       Finally, the government raises new arguments that the circumstances of the January 6

investigations collectively considered, if not the circumstances in Griffin’s case in particular, will

warrant ends-of-justice continuances beyond the September 20 hearing date. ECF No. 44, pp.

14-17. Griffin will address those arguments more formally and at length if the Court indicates

on September 20 that further briefing on the issues is needed. He will also respond at that time

to the government’s constitutional speedy trial arguments.

                                                       Respectfully submitted,


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                                     Certificate of Service
       I hereby certify that on the 12th day of August, 2021, I filed the foregoing response with

the Clerk of Court using the CM/ECF system, which will send a notification of such filing (NEF)

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       And I hereby certify that I have mailed the document by United States mail, first class

postage prepaid, to the following non-CM/ECF participant(s), addressed as follows: [none].


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